IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: October 22, 2019.

                                                        __________________________________
                                                               H. CHRISTOPHER MOTT
                                                        UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

IN RE:                                        §       CASE NO. 18-10364-HCM
VICTORIA ANN GUTWEIN                          §
DEBTOR                                        §       CHAPTER 7

   ORDER GRANTING APPLICATION FOR RETENTION OF BK GLOBAL REAL
             ESTATE SERVICES TO PROCURE CONSENTED
          PUBLIC SALE PURSUANT TO 11 U.S.C. §§ 327(a) AND 328

       ON THIS DAY, the Court considered the Application For Retention of BK Global Real

Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C. §§ 327(a) and 328 which

was filed on September 26, 2019 (docket #21) (the “Application”), and the Court, being of the

opinion that the Application is well taken, and should be GRANTED.

       IT IS THEREFORE ORDERED that the employment of BK Global Real Estate

Services, be, and it is hereby, approved as laid forth in the Application, and,

       IT IS FURTHERMORE ORDERED that compensation will be paid upon application to

this Court only after notice and hearing, pursuant to 11 U.S.C. §330 and the requirements of any

other applicable law.
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THE SCHULTZ LAW FIRM PC

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